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lN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

William R. l\/liller and Stacy A. Miller § Case No. 03:}7-55
P]a\imiff1 § Judge Walter H. Rice
g Magistrate Michael J. Newman
vs.
)
U.S. Banl< National Association and U.S. Bank §
Horne Mortgage )
)
Defendant. )

AGREED CONFIDENTIALITY AND PROTECTIVE ORDER
The parties to this Agreed Conftdentiality and Protective Order have agreed to the terms of this
Order; accordingly, it is ORDERED:

l. Scope. All mateiials produced or adduced in the course of discovery, including
initial disclosures, responses to discovery requests, deposition testimony and exhibits, and
information derived directly therefrom (hereinafter collectively `“documents”), shall be subject to
this Order concerning Confidential Information as defined below. This Order is subject to the
Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and
calculation of time periods

2. Confidential Information. As used in this Order, “Confidential lnformation"
means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by
the producing party that falls Within one or more of the following categories: (a) information
prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,
technical, commercial or financial information that the party has maintained as confidential; (d)
medical information concerning any individual; (e) personal identity information; (f) income tax

returns (including attached schedules and forms), W-Z forms and 1099 forms; or (g) personnel or
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employment records of a person who is not a party to the case. Information or documents that are
available to the public may not be designated as Confidential lnformation.
3. Designation.

(a) A party may designate a document as Confidential lnformation for
protection under this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO
PROTECTIVE ORDER"' on the document and on all copies in a manner that will not interfere
with the legibility of the document. As used in this Order, ""copies" includes electronic images,
duplicates, extracts, summaries or descriptions that contain the Confidential lnforrnation. The
marking ‘“`CONFlDENTlAL - SUBJECT TO PROTECTIVE ORDER" shall be applied prior to
or at the time of the documents are produced or disclosed Applying the marking
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" to a document does not mean that
the document has any status or protection by statute or otherwise except to the extent and for the
purposes ofthis Order. Any copies that are made of any documents marked “CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic
databases or lists of documents that do not contain substantial portions or images of the text of
marked documents and do not otherwise disclose the substance of the Confidential lnformation
are not required to be marked.

(b) The designation of a document as Confidential lnformation is a
certification by an attorney or a party appearing pro se that the document contains Confidential
Information as defined in this order.

4. Depositions_
Unless all parties agree on the record at the time the deposition testimony is taken, all

deposition testimony taken in this case shall be treated as Confidential lnformation until the

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expiration of the following: No later than the fourteenth day after the transcript is delivered to
any party or the witness, and in no event later than 60 days after the testimony was given, Within
this time period, a party may serve a Notice of Designation to all parties of record as to specific
portions of the testimony that are designated Confidential lnformation, and thereafter only those
portions identified in the Notice of Designation shall be protected by the terms of this Order. The
failure to serve a timely Notice of Designation shall waive any designation of testimony taken in

that deposition as Confidential lnformation, unless otherwise ordered by the Court

5. Protection of Confidential Material.

(a) General Protections. Confidential lnformation shall not be used or
disclosed by the parties, counsel for the parties or any other persons identified in subparagraph
(b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

(b) Limited Third-Party Disclosures. The parties and counsel for the parties
shall not disclose or permit the disclosure of any Confidential lnfonnation to any third person or
entity except as set forth in subparagraphs (l)-(9). Subject to these requirements, the following
categories of persons may be allowed to review Confldentia] lnformation:

(l) Counsel. Counsel for the parties and employees of counsel who have
responsibility for the action;

(2) Parties. lndividual parties and employees of a party but only to the extent
counsel determines in good faith that the employee’s assistance is
reasonably necessary to the conduct of the litigation in which the
information is disclosed;

(3) The Court and its personnel;

(4) Court Reporters and Recorders. Court reporters and recorders engaged for
depositions;

(5) Contractors. Those persons specifically engaged for the limited purpose
of making copies of documents or organizing or processing documents,

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(6)

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including outside vendors hired to process electronically stored documents;

Consultants and Experts. Consultants, investigators or experts employed
by the parties or counsel for the parties to assist in the preparation and trial
of this action but only after such persons have completed the certification
contained in Attachment A, Acknowledgment of Understanding and
Agreernent to Be Bound;

Witnesses at depositions During their depositions, witnesses in this
action to whom disclosure is reasonably necessary Witnesses shall not
retain a copy of documents containing Confidential Information, except
witnesses may receive a copy of all exhibits marked at their depositions in
connection with review of the transcripts Pages of transcribed deposition
testimony or exhibits to depositions that are designated as Confidential
lnforrnation pursuant to the process set out in this Order must be separately
bound by the court reporter and may not be disclosed to anyone except as
permitted under this Order.

Author or recipient The author or recipient of the document (not
including a person who received the document in the course of litigation);
and

Others by Consent. Other persons only by written consent of the
producing party or upon order of the Court and on such conditions as may

be agreed or ordered.

Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

shall maintain the originals of the forms signed by persons acknowledging their obligations under

this Order for a period of three years after the termination of the case.

6. lnadvertent F ailure to Designate. An inadvertent failure to designate a document

as Confidential lnforrnation does not, standing alone, waive the right to so designate the

document; provided, however, that a failure to serve a timely Notice of Designation of deposition

testimony as required by this Order, even if inadvertent, waives any protection for deposition

testimony If a party designates a document as Confidential lnformation after it was initially

produced, the receiving party, on notification of the designation, must make a reasonable effort to

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assure that the document is treated in accordance with the provisions of this Order. No party shall
be found to have violated this Order for failing to maintain the confidentiality of material during
a time when that material has not been designated Confidential lnformation, even where the
failure to so designate was inadvertent and where the material is subsequently designated
Confidential lnformation.

7. Filing of Confidential lnformation. This Order does not, by itself, authorize the
filing of any document under seal. Any party wishing to file a document designated as
Confidential lnfonnation in connection with a motion, brief or other submission to the Court
must comply with LR 26.2.

8. No Greater Protection of Specific Documents. Except on privilege grounds not
addressed by this Order, no party may withhold information from discovery on the ground that it
requires protection greater than that afforded by this Order unless the party moves for an order
providing such special protection

9. Challenges by a Party to Designation as Confidential lnformation. The
designation of any material or document as Confidential lnforrnation is subject to challenge by
any party. The following procedure shall apply to any such challenge

(a) Meet and Confer. A party challenging the designation of Confidential
Inforrnation must do so in good faith and must begin the process by conferring directly with
counsel for the designating party. ln conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not

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proper and must give the designating party an opportunity to review the designated material, to
reconsider the designation, and, if no change in designation is offered, to explain the basis for
the designation The designating party must respond to the challenge within five (5) business
days

(b) Judicial Intervention. A party that elects to challenge a confidentiality
designation may file and serve a motion that identifies the challenged material and sets forth in
detail the basis for the challenge Each such motion must be accompanied by a competent
declaration that affirms that the movant has complied with the meet and confer requirements of
this procedure The burden of persuasion in any such challenge proceeding shall be on the
designating party. Until the Court rules on the challenge, all parties shall continue to treat the
materials as Confidential lnformation under the terms of this Order.

IO. Action by the Court. Applications to the Court for an order relating to materials
or documents designated Confidential lnformation shall be by motion. Nothing in this Order or
any action or agreement of a party under this Order limits the Court’s power to make orders
concerning the disclosure of documents produced in discovery or at trial.

l l. Use of Confrdentia| Documents or information at 'I`rial. Nothing in this Order
shall be construed to affect the use of any document, material, or information at any trial or
hearingl A party that intends to present or that anticipates that another party may present
Confidential information at a hearing or trial shall bring that issue to the Court’s and parties’
attention by motion or in a pretrial memorandum without disclosing the Confidential
lnformation. The Court may thereafter make such orders as are necessary to govern the use of
such documents or information at trial.

12. Confidential Information Subpoenaed or Ordered Produced in Other

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Litigation.

(a) lf a receiving party is served with a subpoena or an order issued in other
litigation that would compel disclosure of any material or document designated in this action as
Confidential lnformation, the receiving party must so notify the designating party, in writing,
immediately and in no event more than three court days after receiving the subpoena or order.
Such notification must include a copy of the subpoena or court order.

(b) The receiving party also must immediately inform in writing the party
who caused the subpoena or order to issue in the other litigation that some or all of the material
covered by the subpoena or order is the subject of this Order. In addition, the receiving party
must deliver a copy of this Order promptly to the party in the other action that caused the
subpoena to issue.

(c) The purpose of imposing these duties is to alert the interested persons to
the existence of this Order and to afford the designating party in this case an opportunity to try
to protect its Confidential lnformation in the court from which the subpoena or order issued.
The designating party shall bear the burden and the expense of seeking protection in that court
of its Confidential Infomiation, and nothing in these provisions should be construed as
authorizing or encouraging a receiving party in this action to disobey a lawful directive from
another court. The obligations set forth in this paragraph remain in effect while the party has in
its possession, custody or control Confidential Infonnation by the other party to this case.

13. Challenges by Members of the Public to Sealing Orders. A party or interested
member of the public has a right to challenge the sealing of particular documents that have been
filed under seal, and the party asserting confidentiality will have the burden of demonstrating

the propriety of filing under seal.

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14. Obligations on Conclusion of Litigation.

(a) Order Continues in Force. Unless otherwise agreed or ordered, this
Order shall remain in force after dismissal or entry of final judgment not subject to further
appeal.

(b) Obligations at Conclusion of Litigation. Within sixty-three days after
dismissal or entry of final judgment not subject to further appeal, all Confidential information
and documents marked “CONFIDENTIAL - SUB.IECT TO PROTECTIVE ORDER” under
this Order, including copies as defined in ‘H 3(a), shall be returned to the producing party unless:
( l ) the document has been offered into evidence or filed without restriction as to disclosure; (2)
the parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents
bearing the notations, summations, or other mental impressions of the receiving party, that party
elects to destroy the documents and certifies to the producing party that it has done so. ln no
event shall the parties be required to locate, isolate, and return any e-mails (including
attachments to e-mails) that may include Confidential lnformation, or Confidential lnformation
contained in deposition transcripts or drafts or final expert reports, but that information shall
remain confidential and subject to this Order.

(c) Retention of Work Product and one set of Filed Documents.
Notwithstanding the above requirements to return or destroy documents, counsel may retain ( l)
attorney work product, including an index that refers or relates to designated Confidential
Information so long as that work product does not duplicate verbatim substantial portions of
Confidential lnformation, and (2) one complete set of all documents filed with the Court
including those filed under seal. Any retained Confidential Infonnation shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent

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litigation, provided that its use does not disclose or use Confidential lnformation.

(d) Deletion of Documents filed under Seal from Electronic Case Filing
(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the
Court.

15. Order Subject to Modification. This Order shall be subject to modification by
the Court on its own initiative or on motion of a party or any other person with standing
concerning the subject matter.

16. No Prior J udicial Determination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating discovery
Nothing herein shall be construed or presented as a judicial determination that any document or
material designated Confidential lnformation by counsel or the parties is entitled to protection
under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

17. Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel of record and their law firms, the parties, and persons made subject to this
Order by its terms.

So Ordered.

Dated: i~` ~ t 3 4 `f AA'\’

UNITED STATES DISTRICT JUDGE

 

 

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Agreed as to form:

/s/William R Miller

S i gn ature

William R Miller
Printed Name

Counsel for: William and Stacy Miller

Dated:

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Agreed as to form:

/s/ Drew Campbell bv /s/ Rvan Sawver per
e-mail authorization
Signature

Drew Campbell
Printed Name

Counsel for: U.S. Bank National Association

Dated: 8/15/2017

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ATTACHMENT A

IN THE UNITED STATES DlS'l`RlCT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

)

) Case No. 03117'-55
William R. Miller and Stacy A. Miller )
Plaintiffs, ) Judge Walter H. Rice

v. )

) l\/[agistrate Michael J. Newman

)
U.S. Bank National Association and U.S. )
Bank Home Mortgage )

)

ACKNOWLEDGMENT
AND

AGREEMENT TO BE BOUND

The undersigned hereby acknowledges that he/she has read the Confidentiality Order
dated in the above-captioned action and attached
hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned
submits to the jurisdiction of the United States District Court for the Southem District of Ohio in
matters relating to the Confidentiality Order and understands that the terms of the Confidentiality
Order obligate him/her to use materials designated as Confidential lnfonnation in accordance
with the Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concern.

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The undersigned acknowledges that violation of the Confidentiality Order may

result in penalties for contempt of court.

Name:

 

Job Title:

 

Employer:

 

Business Address:

 

 

 

Date:

 

 

S ignature

